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                             UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE
COMMISSION,                                         Civil Action No. 1:17-cv-11633

               Plaintiff,

       v.

NAVELLIER & ASSOCIATES, INC.,
and LOUIS NAVELLIER,

               Defendants.




      DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFF’S
   MEMORANDUM AND PROPOSED DISGORGMENT FINDINGS OF FACT AND
               CONCLUSIONS OF LAW (DKT#340, 341)

       Liu v. SEC 140 S. Ct. 1936 (2020) mandates that disgorgement can only be awarded, if at

all, for “net gains” tethered to each defendant’s violation, of the securities laws after deducting

all legitimate business expenses and offsetting payments made to the “victims.” This Court

should follow the dictates of the Supreme Court in Liu v. SEC 140 S. Ct. 1936 (2020) and deny

in its entirety the SEC’s request for $28.5 million in “disgorgement” and prejudgment interest.

The SEC should not be awarded disgorgement.



               The Law

       The Supreme Court in Liu made clear that the SEC can no longer use disgorgement as a

disguised penalty or forfeiture to punish a defendant for allegedly violating the securities law.

The SEC can no longer seek huge blanket disgorgement awards for all revenue the defendant



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received. The Supreme Court made clear in Liu that principles of equity must apply in

determining whether to award disgorgement, and if so, in what amount. The federal court, in

exercising its equitable discretion, must first separate a defendant’s receipts received from the

defendants’ “wrongful” conduct from the defendants’ legitimately earned revenue. Only the

revenue the defendant received as a result of his/its “wrongdoing” is counted in calculating the

gross amount that is potentially disgorgeable. Liu p. 1945.

       “Wrongdoing” is conduct by a particular defendant that he/it did that violated the

securities laws. Liu p. 1945; 15 U.S.C. §78u(d)(5). Amounts that were not obtained by violating

the securities laws, but rather were legitimately earned by the defendant, for providing services

or consideration to the “victim,” are excluded from the calculation of the gross disgorgement

amount. Liu 1945; Livingston supra; Seymour v. McCormick 16 How 480, 490 (1854) [rejecting

a rule that infringing one component of a machine warranted a remedy measured by the full

amount of the profits earned from the machine]; Mowry v. Whitney 14 Wall 620, 649 (1872)

[vacating an accounting that exceeded the profits from the infringement alone.]

       Disgorgement is further restricted to only those amounts obtained during the time the

defendant is actually violating the law and during “no other period.” Liu p. 1945; Livingston v.

Woodworth 15 How 546, 559-560 (1854).



               Disgorgement Is Restricted To the “Net Gain” Obtained From Wrongdoing
               After Deducting Defendants’ Legitimate Business Expenses and Crediting
               The Defendant With Payments Made To The Victim

       After limiting the gross disgorgeable amount to revenue only from wrongdoing, the court

“must” deduct from that disgorgeable amount, all “legitimate expenses” in operating the business

that produced the revenues that are subject to disgorgement. Liu p. 1945. The wrongdoer is




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entitled to a deduction from the disgorgeable amount for his/its legitimate expenses, because

equity courts “may not enter disgorgement awards that exceed the gains made when both receipts

and payments are taken into the account.” (Liu 1949-1950 (emphasis added).

         Legitimate expenses are those marginal costs and expenses incurred by the defendants in

operating the business that produced the wrongful amount, i.e., all expenses paid to vendors, and

to non-party employee salaries and compensation. Liu 1950. Only bogus “expenses” paid to the

wrongdoers that are really “disguised dividends” are not deducted in calculating disgorgeable

gains.

                Payments To The “Victim” Are Credits To The Defendant Which Are
                Offsets Against Any Disgorgeable Net Gains

         Finally, returns and payments made to the victims are offset against the disgorgeable “net

gain” and credited to the wrongdoer so that, in equity, the wrongdoer is not punished by paying

more than a fair compensation to the person wronged.” (emphasis added) Liu p. 1943;

Restatement (Third) Restitution and Unjust Enrichment §51(h) illustration 22. Section 78u(d)(5)

“restricts equitable relief to that which may be appropriate or necessary for the benefit of

investors.” Liu 1947.

                No Joint and Several Liability

         If there are multiple defendants, the disgorgement and liability awards, if any, are

determined against each defendant separately in accordance with his or its separate wrongdoing;

not jointly. Liu 1949. Also the award, if any, can only be for the amount of net gain he or it

received from his or its own wrongdoing. Requiring proof of individual wrongdoing, limited to

only the amount of “net gains” each individual defendant received, prevents the court from

transforming an equitable profits-focused remedy into a penalty. Liu 1949. In this case there is

no joint and several liability. No amount is disgorgeable from Mr. Navellier. He did not make or



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market the allegedly false marketing material. He did not manage any Vireo client accounts.

Thee is no evidence that the supposedly false statement was false. Nor is any amount

disgorgeable from NAI.

        The SEC can no longer impose blanket joint and several liability unless it proves

concerted action by the defendants. Liu 1949. In this case there is no claim and no proof of

concerted action by NAI or Mr. Navellier. The SEC dismissed, with prejudice, its aiding and

abetting claim. (DKT#260).



                 No Wrongdoing

        Despite the SEC’s repeated allegation that NAI’s marketing material contained a false

statement- that the Vireo strategy was live traded back to 2001 and was not back tested- the SEC

presented no evidence to prove that allegation! (See Defendants’ Proposed Findings Of Fact

No.’s 75-110). No matter how many times the SEC repeated that baseless allegation in its

summary judgment papers, and no matter how many times it repeats that baseless allegation in

its proposed findings of fact and conclusions of law, the SEC’s allegations are not proof. The

undeniable fact is that the SEC presented no evidence that NAI’s statement was false.

(Defendants’ Proposed Findings No. 76). In fact Defendants presented evidence that proved the

statement was true. (Defendants’ Proposed Findings No.’s 77-80; Exhibits A, B, C, D) 1. Without

proof of a false statement there is no proof of a 206(1) or 206(2) violation by either NAI or Mr.

Navellier. ZPR Investment Management v. SEC 861 F.3d 1239, 1247 (11th Cir. 2017).

        Where, as here, the SEC has not proved that either NAI or Mr. Navellier violated 206(1)

or 206(2), then there is no “wrongdoing” by either one and the SEC cannot seek, and this Court


1
  References to “Exhibit __” are to Defendants’ exhibits in the record submitted in connection with the summary
judgment motions and previous remedies/final judgment pleadings, copies of which are attached hereto.


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cannot award, disgorgement in any amount Liu p. 1941; Kokesh v. SEC 137 S. Ct. 1635, 1643-

1644 (2017). Nor can it award $2 million or any penalty against NAI. Nor can it award a

$500,000 or any penalty against Mr. Navellier. Nor can it award injunctive relief. Where, as

here, there is no violation, there is no basis for any amount of disgorgement. Kokesh supra 137 S.

Ct. at 1643-1644.



                   The SEC’s Rush To Judgment Before The Supreme Court Decided Liu

         The SEC misled this Court into finding liability without any proof that the marketing

statement was in fact false. It wasn’t. (Exhibits A, B, C, D). The SEC then induced this Court

(over NAI’s and Mr. Navellier’s strenuous stay requests) to rush to issue a $28.9 million

disgorgement judgment before it had the benefit of Supreme Court guidance 2 on the limits of

awarding disgorgement.

         After the Supreme Court issued its Liu decision, the SEC knew this Court’s disgorgement

decision was erroneous, so it sought a remand so it could attempt to wordsmith the Liu decision

into something to support its $28.5 million demand.

         Instead of following the dictates of Liu, the SEC again asks this Court to commit error

and ignore the holdings of Liu and continue to apply disgorgement law as a vehicle for

punishment and forfeiture; the very thing the SEC had been doing for 50 years before the

Supreme Court put a stop to it. The Supreme Court has now held the SEC can no longer seek

forfeiture dressed up as disgorgement. Liu 1946. Rather than seek equity and “fair compensation

to the person wronged” Liu 1945, the SEC continues to seek $28.5 million to punish Defendants


2
 The SEC was the plaintiff in the Liu case and knew full well that the very issues being raised here regarding the limits on
awarding it disgorgement were going to be decided by the Supreme Court shortly and would have an outcome
determinative impact on this Court’s decision. Yet the SEC urged this Court to commit further error by following its
arguments rather than the law that was about to come down from the Supreme Court.


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and forfeit NAI’s legitimate earnings. There were no victims, NAI provided its Vireo Allocator

and Vireo Premium clients (the only “victims” of the allegedly “false” statement) with excellent

investment management, plus paid them $37,581,016 in profits. Neither NAI nor Mr. Navellier

harmed any of its Allocator or Premium clients (or any other clients). NAI benefited them by

$37,581,016. NAI did not wrongfully take a penny from them.

       The SEC seeks $22,077,593 in disgorgement including disgorgement of $14 million in

unrelated goodwill proceeds, even though the SEC agreed that only $360,935 was disgorgeable

and dropped its $14 million demand completely. (Exhibit K, p. 1 and Exhibit L). And it seeks

$28.5 million from Mr. Navellier individually despite the fact it settled with no claims at all

against Mr. Navellier (Exhibits K and L).



               The SEC Wrongly Seeks Disgorgement Of Fees Not Connected To
               “Wrongdoing” By Either Defendants

       In contravention of Liu, the SEC wrongly seeks to disgorge all fees NAI received from all

Vireo clients for all nine (9) of NAI’s Vireo strategies. The SEC seeks all fees from all Vireo

clients from September 1, 2011 through December 2013, even though the SEC concedes these

other seven strategies that contained allegedly false marketing material (Exhibit M) and even

though the SEC concedes NAI removed the statement September 2012 (Exhibits K, L, N).



               Only Allocator or Premium Fees Are Arguably Disgorgeable

       Only advisory fees obtained from allegedly “wrongful” conduct are disgorgeable Liu p.

1946. When the SEC moved for partial summary judgment it presented “evidence” that only two

of NAI’s nine (9) Vireo strategies, the Allocator and the Premium strategies had marketing

materials that contained the supposedly “false” statement.



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                  Only Allocator or Premium Fees From August 10, 2011 Through June 30,
                  2012 Are Arguably Disgorgeable

           Only investment advisory fees received from Allocator or Premium during the period of

August 11, 2011 and June 30, 2012 3 (Exhibit O) were arguably derived from “wrongful”

conduct- the marketing statement. Fees from Allocator or Premium marketing material before

August 10, 2011 cannot be disgorged because recovery is barred by the five (5) year statute of

limitations. 28 U.S.C. §2462; Kokesh v. SEC 137 S. Ct. 1635, 1643-1644 (2017).

           Allocator or Premium Fees obtained after September 14, 2012 are not disgorgeable

because the allegedly false statement was removed from Allocator and Premium marketing

material starting in the third quarter 2012 (July 1, 2012) (Exhibit O). Allocator or Premium

advisory fees received from clients who became clients after September 14, 2012 could not have

been falsely induced to become clients and pay advisory fees based on a supposedly false

statement that was not even in the marketing material after September 14, 2012. (Exhibits K, O,

L p. 5).

           Instead of adhering to the requirements of Liu, to restrict its disgorgement demand to

only net gains from wrongful acts, and only for the period the wrongful act was committed and

“no other”, as the Supreme Court ordered the SEC to do, the SEC seeks to disgorge $20,634,408

in advisory fees paid to NAI from clients in all nine (9) Vireo strategies, not just the Allocator

and Premium clients- the only two strategies the SEC claimed contained the allegedly false



3
  The SEC concedes that by “September 2011 NAI had removed the supposedly false “not backtested” language (Exhibit
L, p. 5, ¶12) and that by September 14, 2012 NAI had stopped disseminating marketing material with the “based on live
trading” statement. (Exhibit L, p. 5 ¶13; Exhibit K, p. 1). The SEC conceded that only $360,935 in fees was
“disgorgeable” from marketing material from those two strategies during the applicable August 10, 2011 to September 14,
2012 after which September 14, 2012 date the allegedly “false” statement was removed from Allocator and premium
marketing materials (Exhibits ). The allegedly false statement was removed from NAI marketing material after
September 14, 2012 (Exhibit K)


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statement.

                 NAI’s Arguably Disgorgeable Fees Are At Most $53,008

        The gross Allocator advisory fees and gross Premium advisory fees that NAI 4 received

during the applicable August 10, 2011 through September 14, 2012 (when the allegedly

“wrongful” marketing material was used), was $4,289,956 for Allocator fees and $347,351 for

Premium fees (Exhibit F). However, as the SEC concedes, a licensing fee had to be paid by NAI

to F2 for each advisory fee NAI received. So the net fees (after deducting the licensing fee) NAI

received for Allocator was $1,917,620. The net Premium advisory fees were $129,668 for a total

of $2,047,288 in net fees for the two strategies.

        However, only the fees attributable to the wrongful “component” of NAI’s acts are

disgorgeable. Legitimately earned fees for value given are not disgorgeable. Liu p. 1945.

Therefore, even if, arguendo, the SEC had proved that the marketing statement was false (it

didn’t), and even if the SEC had proved that the statement had induced a client to initially

become a client and pay the initial first quarter advisory fees (the SEC didn’t), only the fees paid

by the client during the first Quarter he/she was a client would arguably be disgorgeable. The

SEC presented no evidence that clients continued to pay advisory fees after the first Quarter of

being a client because of the “false” statement, as opposed to continuing to pay fees because they

were satisfied with NAI’s services. The most that the “false” marketing statement could be

deemed to be causally connected to is fees a client paid for his/her first Quarter (3 months) of

advisory service. After that if the client decided he/she was satisfied with the advisory services

and stayed as a client and continued to pay fees, it was causally connected to the client’s

satisfaction with NAI’s services and performance, not to the initial “false” statement in the


4
 The SEC presented no evidence, and there is none, that Mr. Navellier received any investment advisory fees from
any Vireo clients. He was not an investment adviser for any Vireo clients (Proposed Finding of Fact 15).


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marketing material.

        Therefore at most only the $285,034 in fees paid by Allocator clients and the $17,178 in

fees paid by Premium clients for the first quarter after they became clients is arguably

disgorgeable. However net fees after deducting the licensing fees attributable to those first

quarter fees is disgrogeable. The net fees Allocator clients paid during their first quarter was

$127,829 and $7,106 for Premium clients for a total of $134,935 in arguable disgorgeable client

first Quarter fees. (Exhibit F).

        The fees paid by Allocator and by Premium clients, after being clients for a Quarter, were

legitimate fees for valuable advisory services NAI provided to them. Those legitimately earned

fees (NAI returned $37,581,016 in profits to its Allocator and Premium clients) must be excluded

in calculating any disgorgeable amount, since they are not causally connected to the earlier,

allegedly false statement. NAI’s valuable, profitable services, after the first Quarter of service,

broke and superseded any causal link between the statement and payment of fees thereafter. Liu

at p. 1945; SEC v. MacDonald 699 F.2d 47, 54 (1983).

        Therefore the total disgorgeable amount of advisory fees, before further deduction for

NAI’s other legitimate Vireo business expenses, is $134,935. When the legitimate NAI Vireo

business expenses for marketing (see Defendants’ Responses To Proposed Findings 50-57), and

for employee salaries and bonuses (Defendants’ Response 58) and other business expenses are

deducted, the arguable net gains from arguable wrongful advisory fees is $53,008 (Kahrs

Declaration ¶19). It is not the blanket, non-causally connected $8,022,000 the SEC improperly

claims for all strategies for all times (August 10, 2011 through December 2013).



                None of the $14 Million From Goodwill Sales Proceeds Is Disgorgeable




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           Liu makes clear that for the SEC to be able to equitably disgorge monies received by NAI

(or Mr. Navellier 5) the monies must be causally connected to each defendant’s “wrongdoing.”

Liu pp. 1946, 1949.

           Here, there is no proven wrongdoing; only unsupported allegation. The alleged, but

unproven “wrongdoing” in this case is the allegedly “false” statement in the Allocator and in the

Premium marketing material during the August 10, 2011 through September 14, 2012 time

period. The SEC’s totally speculative and unproven theory is that all of NAI’s Allocator and

Premium clients were induced to become clients because of the “false” marketing statement (as

opposed to NAI’s two (2) year actual performance record managing its own clients’ Allocator

and Premium accounts) (Exhibit N).

           The SEC then embellishes its speculation by alleging, but not proving, that these clients

remained clients for two to three years after becoming clients because of the “false” marketing

statement two to three years earlier; and not because of the excellent and profitable performance

they received from NAI, which generated for them $37,581,016 in profits. 6

           The SEC again has produced no evidence that any client, not a single one, was induced to

initially become a client because of the “false” marketing statement as opposed to NAI’s already

nearly two year actual performance for clients (Exhibit N). In fact, Defendants produced

evidence that clients became clients because of NAI’s actual performance for the two years

before these clients became clients, not because of some allegedly false statement about the 10

year old origins of the strategy.

           Ken Zannoni, whom the SEC interviewed, but declined to produce, told the SEC what it

didn’t want to hear- that he and his clients didn’t care about the allegedly false statement about


5
    Mr. Navellier did not receive the $14 million in goodwill proceeds, NAI did.
6
    $278 million in profits to all Vireo clients.


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hypothetical index performance; what mattered to him and his clients and what caused them to

become clients and remain clients was NAI’s actual performance. (Exhibit H).

       Likewise, John Ranft, NAI’s former head of marketing, testified that clients became

clients and, more importantly, remained clients, because of the actual performance they received

from NAI (Exhibit I).

       The SEC produced no evidence that any clients remained clients for 1, 2, or 3 years

because of being induced to initially become clients by an allegedly false statement years before.

The SEC’s theory is pure speculation, not evidence. The SEC has the burden to prove a causal

connection between a client initially allegedly being “falsely” induced to become a client and

that client remaining a client after years of service. It has failed to do so. There can be no

disgorgement of any of the goodwill proceeds because the SEC has not proven that the goodwill

proceeds NAI received from F2 were causally connected to any wrongful conduct by NAI or Mr.

Navellier. There is no legal or equitable authority for disgorging any of the $14 million. None of

the $14 million sales price is causally connected to the allegedly “false” marketing material. Liu

1945; SEC v. MacDonald supra 699 F.2d at 54.

       Whatever purely speculative causal connection the SEC alleges caused clients to become

clients, was broken once NAI started profitably managing their accounts. Any connection to the

initial “false” statement was too attenuated and remote to allow for disgorgement of any of the

goodwill Liu 1945, 1946. [“Congress prohibited the SEC from seeking an equitable remedy in

excess of a defendant’s net profits from wrongdoing.”]; Restatement (Third) Restitution and

Unjust Enrichment §51(5)(a); §51(h); SEC v. MacDonald supra at p. 54.

       NAI was not unjustly enriched by its sale of the goodwill it had created over three years

of excellent performance for its clients.




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       Also, the SEC, in its unauthorized attempt to obtain disgorgement of all of the $14

million, makes no attempt to create a causal link to the clients that transferred and the allegedly

“false” statement. Thus it simply ignores the fact that 79% of the $1.4 billion that clients

transferred to F2 management was form clients that were not even in the Allocator or Premium

strategies. So there couldn’t have been a link between the allegedly “false” statement (which did

not even appear in their marketing material) and their decisions to transfer to F2.

       Only $304,193,621 of the $1,479,682,738, i.e., 21% of all the clients that transferred their

assets were Allocator or Premium clients. So even if the SEC had produced evidence that all of

the Allocator and Premium clients switch because of the allegedly false statement, most of the

Allocator and Premium clients became clients after the “false” statement was removed, so there

is no causal connection for them and their percentage of the $14 million is not disgorgeable. As

to the remaining few Allocator and Premium clients, the SEC produced no evidence that a single

one of them switched because of the allegedly false statement. Therefore none of the $14 million

is disgorgeable.

       NAI earned goodwill by providing its clients with years of valuable and profitable

investment advisory services (that earned the Allocator clients $33,689,836 in profits and the

Premium clients $6,270,948 in profits (Exhibit F).

       In addition, an investment advisor can sell its goodwill. It is not a violation of 206(1) or

206(2) for an investment advisor to sell its goodwill. Since selling its goodwill is not “wrongful”,

the SEC cannot disgorge any of the $14 million in sale proceeds. Liu 1946 [Congress prohibited

the SEC from seeking an equitable remedy in excess of defendants’ net profits from

wrongdoing].

               No “Continuing Duty”




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       The SEC attempts to get around the absence of a causal connection to the goodwill sales

proceeds by arguing that NAI and Mr. Navellier each had a continuing fiduciary duty to inform

“their” clients of the allegedly “false” statement in the initial marketing material. As set forth

above, and in proposed findings No.’s 75 through 110, the SEC presented no evidence and did

not prove that the allegedly false statement was, in fact, false. It wasn’t (Exhibits A, B, C, D).

       Since there had been no false statement disseminated to the clients, there was no duty, let

alone a continuing duty, to inform clients that the true statement in the marketing material was

“false.” Both defendants testified that they reasonably believed the statement was true

(Defendants Proposed Statement of Fact No. 101).

       Also, the SEC has again failed to produce any evidence that a single client continued to

remain as a client because he/she didn’t know the alleged “false” statement was false. SEC did

not produce any evidence that a single client would have ceased being a client or wouldn’t have

still switched to F2 if he/she had been told that the statement was “false.”

       Allegations, arguments and unfounded speculation are not evidence and cannot be a basis

for equitable disgorgement. The SEC is required to prove a causal connection between the

supposedly wrongful act and NAI receiving proceeds for the sale of its goodwill. The SEC has

failed to prove any such causal connection. No disgorgement of any of the $14 million is

allowed.

               Defendants Are Entitled To An Offset (Credit) Against Disgorgement For
               $37,581,016 In Profit NAI Paid To Its Allocator and Premium Clients

       When equitably accounting for the “net gains,” the Defendants are entitled to an offset or

credit against the disgorgement amount for payments or returns defendants provided to the

clients. Liu 1949-1950. NAI is entitled to a credit for the $37,581,016 in profits it paid to its

Allocator and Premium “victim” clients. Under Liu that $37,581,016 payment to clients must be



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offset against the $53,008 in arguably disgorgeable fees. That results in zero in disgorgement.

       Even if the SEC was correct that any of the $14 million is disgorgeable (it is not), the

$37,581,016 in profits to clients offsets all of the SEC’s unfounded $14 million goodwill and

$8,077,593 fee disgorgement (forfeiture) demand. Liu 1943 [“the wrongdoer should not be

punished by paying more than a fair compensation to the person wronged”].

       Here, the SEC is not seeking to extract a “fair” compensation to the persons wronged.

There were no persons wronged. The clients have already received fair compensation for

valuable and profitable investment advisory services they paid for. Plus they got $37,581,016 in

profits. The clients received more than fair compensation. They were not wronged; they suffered

no harm. Disgorging any amount would be an extreme and inequitable penalty- not fair

compensation to the persons wronged.

                                     No Prejudgment Interest

       Since there is no amount of equitable disgorgement there can be no prejudgment interest.

               No Penalties

       The SEC failed to prove a wrongdoing. The clients were not harmed. The Allocator and

Premium clients profited to the tune of over $37,581,016. All the Vireo clients were paid profits

of $278 million. There is no basis for a statutory penalty where there is no proof of a violation by

Mr. Navellier or by NAI.

       The SEC cites no case, and Defendants are not aware of any, were the fiduciary did not

use the clients’ assets, returned all principal invested, to the client, provided valuable and

profitable services for fair compensation and paid the beneficiary all the profits earned on the

invested principal and yet was still ordered to pay disgorgement. The Restatement §51(h) and the

Pennsylvania Supreme Court in Brooks v. Conston 72 A.2d 75, 79 (1950) when it was




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confronted with such an inequitable demand for disgorgement refused to award it even though

the defendant had defrauded the plaintiff out of his business. The situation is more inequitable

here. Defendants took nothing from their clients, and have already paid them $37 million in

profits. That is more than fair compensation to the victims of NAI’s profitable investment advice.

An order to pay any amount of “disgorgement” in these circumstances would be an unauthorized

penalty or forfeiture which “Congress prohibited the SEC from seeking.” Liu p. 1946.



                                         CONCLUSION

       The SEC’s request for disgorgement does not follow the mandate of Liu. Under Liu, no

disgorgement of any amount is allowable in this case. This Court should exercise its discretion

equitably. Equity and Liu require that no disgorgement or prejudgment interest or penalties be

allowed.

                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document was filed on this date through the ECF system and will

be sent to the registered participants as identified on the Notice of Electronic Filing (NEF) as of

this date of this filing.



November 16, 2020                                             By: Dan Cowan
                                                                  Dan Cowan




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